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 6

 7

 8                                UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
10

11   KARINA FELIX LOPEZ,                          Case No. 2:22-cv-00243-SVW-KS
12                                                Assigned to the Hon. Stephen V.
                                    Plaintiff,
13                                                Wilson

14   v.
                                                  DEFENDANT MIDLAND CREDIT
15                                                MANAGEMENT, INC.’S
     MIDLAND CREDIT MANAGEMENT,
                                                  ANSWER AND AFFIRMATIVE
16   INC.,
                                                  DEFENSES TO THE FIRST
17                                                AMENDED COMPLAINT
                                    Defendant.
18                                                JURY TRIAL DEMANDED
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     158411.01400/128515081v.2
     DEFENDANT MIDLAND CREDIT MANAGEMENT, INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO
                             THE FIRST AMENDED COMPLAINT
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 1
             Defendant Midland Credit Management, Inc. (“MCM”), by counsel, submits
 2
     the following Answer and Affirmative Defenses (“Answer”) to the First Amended
 3
     Complaint (“Complaint”) filed by Plaintiff Karina Felix Lopez (“Plaintiff”)
 4
                                         INTRODUCTION
 5
             1.      The allegations set forth in Paragraph 1 of the Complaint contain
 6
     statements and/or conclusions of law, to which no response is required. To the extent
 7
     the allegations are contrary to the law, they are denied. To the extent that any factual
 8
     allegations are included, such allegations are denied, and strict proof thereof is
 9
     demanded.
10
             2.      Paragraph 2 of the Complaint is a characterization of this action, and
11
     such allegations are not subject to denial or admission. To the extent a response is
12
     required, MCM denies that Plaintiff has any basis in fact or law to maintain this action
13
     against MCM.
14
             3.      The allegations set forth in Paragraph 3 of the Complaint contain
15
     statements and/or conclusions of law, to which no response is required. To the extent
16
     the allegations are contrary to the law, they are denied. To the extent that any factual
17
     allegations are included, such allegations are denied, and strict proof thereof is
18
     demanded.
19
             4.      The allegations are another characterization of this action and such
20
     allegations are not subject to denial or admission. To the extent a response is required,
21
     MCM denies that Plaintiff has any basis in fact or law to maintain this action against
22
     MCM.
23
             5.      The allegations set forth in Paragraph 5 of the Complaint are denied.
24
             6.      The allegations set forth in Paragraph 6 of the Complaint contain
25
     statements and/or conclusions of law, to which no response is required. To the extent
26
     the allegations are contrary to the law, they are denied. To the extent that any factual
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     allegations are included, such allegations are denied, and strict proof thereof is
 2
     demanded.
 3
                                   JURISDICTION AND VENUE
 4
             7.      The allegations set forth in Paragraph 7 of the Complaint contain
 5
     statements and/or conclusions of law, to which no response is required. To the extent
 6
     the allegations are contrary to the law, they are denied. To the extent that any factual
 7
     allegations are included, such allegations are denied, and strict proof thereof is
 8
     demanded.
 9
             8.      The allegations set forth in Paragraph 8 of the Complaint are another
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     characterization of this action and such allegations are not subject to denial or
11
     admission. To the extent a response is required, MCM denies that Plaintiff has any
12
     basis in fact or law to maintain this action against MCM.
13
             9.      The allegations contain statements and/or conclusions of law, to which
14
     no response is required. To the extent the allegations are contrary to the law, they are
15
     denied. To the extent that any factual allegations are included, such allegations are
16
     denied, and strict proof thereof is demanded. MCM is without sufficient information
17
     or knowledge to form a belief as to the truth of the allegations regarding the location
18
     where the “acts and transactions” occurred or where Plaintiff resides, and therefore
19
     denies the same.
20
                                                FDCPA
21
             10.     The allegations set forth in Paragraph 10, including subsections (a) – (e),
22
     of the Complaint contain statements and/or conclusions of law, to which no response
23
     is required. To the extent the allegations are contrary to the law, they are denied.
24
             11.     The allegations set forth in Paragraph 11 of the Complaint contain
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     statements and/or conclusions of law, to which no response is required. To the extent
26
     the allegations are contrary to the law, they are denied.
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     158411.01400/128515081v.2                     3
     DEFENDANT MIDLAND CREDIT MANAGEMENT, INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO
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             12.     The allegations set forth in Paragraph 12 of the Complaint contain
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     statements and/or conclusions of law, to which no response is required. To the extent
 3
     the allegations are contrary to the law, they are denied.
 4
                                              PARTIES
 5
             13.     The allegations also contain statements and/or conclusions of law, to
 6
     which no response is required. To the extent the allegations are contrary to the law,
 7
     they are denied. Without limiting or waiving the forgoing, MCM admits only that
 8
     plaintiff is a natural person. MCM is without sufficient information or knowledge to
 9
     form a belief as to the truth of the remaining allegations set forth in Paragraph 13 of
10
     the Complaint regarding Plaintiff’s residency, and therefore denies the same.
11
             14.     MCM admits only that it is a Kansas corporation. The remaining
12
     allegations in Paragraph 14 of the Complaint, including that MCM is a “ ‘Debt
13
     Collector’ as that term is defined by 15 U.S.C. § 1692a(6)”, contain statements and/or
14
     conclusions of law, to which no response is required. To the extent the allegations are
15
     contrary to the law, they are denied.
16
                                    FACTUAL ALLEGATIONS
17
             15.     MCM is without sufficient information or knowledge to form a belief as
18
     to the truth of the allegations set forth in Paragraph 15 of the Complaint regarding
19
     Plaintiff’s residency, and therefore denies the same.
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             16.     The allegations set forth in Paragraph 16 of the Complaint contain
21
     statements and/or conclusions of law, to which no response is required. To the extent
22
     the allegations are contrary to the law, they are denied. To the extent that any factual
23
     allegations are included, such allegations are denied, and strict proof thereof is
24
     demanded.
25
             17.     The allegations set forth in Paragraph 17 of the Complaint contain
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     statements and/or conclusions of law, to which no response is required. To the extent
27
     the allegations are contrary to the law, they are denied. To the extent that any factual
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     DEFENDANT MIDLAND CREDIT MANAGEMENT, INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO
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 1
     allegations are included, such allegations are denied, and strict proof thereof is
 2
     demanded.
 3
             18.     The allegations set forth in Paragraph 18 of the Complaint contain
 4
     statements and/or conclusions of law, to which no response is required. To the extent
 5
     the allegations are contrary to the law, they are denied. To the extent that any factual
 6
     allegations are included, such allegations are denied, and strict proof thereof is
 7
     demanded.
 8
             19.     The allegations of Paragraph 19 of the Complaint purports to generally
 9
     characterize the contents of a writing that speaks for itself, and any characterizations
10
     or interpretations inconsistent with its terms are denied.
11
             20.     The allegations of Paragraph 20 of the Complaint purports to generally
12
     characterize the contents of a writing that speaks for itself, and any characterizations
13
     or interpretations inconsistent with its terms are denied.
14
             21.     The allegations of Paragraph 21 of the Complaint purports to generally
15
     characterize the contents of a writing that speaks for itself, and any characterizations
16
     or interpretations inconsistent with its terms are denied.
17
             22.     The allegations set forth in Paragraph 22 of the Complaint contain
18
     statements and/or conclusions of law, to which no response is required. To the extent a
19
     response is deemed to be required, the allegations are denied.
20
                                       ACTUAL DAMAGES
21
             23.     The allegations set forth in Paragraph 23 of the Complaint contain
22
     statements and/or conclusions of law, to which no response is required. To the extent a
23
     response is deemed to be required, the allegations set forth in Paragraph 23 of the
24
     Complaint are denied. MCM denies that Plaintiff is entitled to any damages,
25
     whatsoever.
26
     ///
27
     ///
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     DEFENDANT MIDLAND CREDIT MANAGEMENT, INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO
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 1
                          CAUSE OF ACTION CLAIMED BY PLAINTIFF
 2
                                 VIOLATIONS OF § 1692e OF THE FDCPA
 3
             24.     MCM incorporates by reference its response to the foregoing paragraphs
 4
     of Plaintiff’s Complaint as though fully set forth herein.
 5
             25.     The allegations set forth in Paragraph 25 of the Complaint contain
 6
     statements and/or conclusions of law, to which no response is required. To the extent
 7
     the allegations are contrary to the law, they are denied.
 8
             26.     The allegations set forth in Paragraph 26 of the Complaint contain
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     statements and/or conclusions of law, to which no response is required. To the extent a
10
     response is deemed to be required the allegations set forth in Paragraph 26 of the
11
     Complaint are denied.
12
                                        PRAYER FOR RELIEF
13
             MCM denies that Plaintiff is entitled to the relief sought in the unnumbered
14
     WHEREFORE paragraph, including subsections (a) – (e), following Paragraph 26 of
15
     the Complaint. MCM denies that Plaintiff is entitled to any relief, whatsoever.
16
                                    TRIAL BY JURY IS DEMANDED
17
             MCM admits that Plaintiff demands a trial by jury on all issues so triable.
18
             MCM denies that plaintiff is entitled to any relief, whatsoever.
19
             MCM denies all allegations not specifically admitted herein.
20
             MCM reserves the right to rely upon any all defenses as may become known
21
     trough discovery or at trial.
22
                                 AFFIRMATIVE AND OTHER DEFENSES
23
             1.      Plaintiff’s claims fail to the extent that the Complaint fails to set forth
24
     facts sufficient to state a claim upon which relief may be granted against MCM and
25
     fails to state facts sufficient to entitle Plaintiff to the relief sought.
26
             2.      Plaintiff lacks the ability to demonstrate sufficient harm under Article III
27
     of the United States Constitution.
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     DEFENDANT MIDLAND CREDIT MANAGEMENT, INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO
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             3.      Plaintiff is not entitled to recover any damages, or any recovery awarded
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     should be reduced by the amount of damages which reasonably could have been
 3
     avoided because Plaintiff failed to take reasonable steps to mitigate any purported
 4
     damages with respect to the matters alleged in the Complaint.
 5
             4.      Assuming arguendo that MCM violated the FDCPA, which Defendant
 6
     denies, such violation was not intentional and resulted from a bona fide error,
 7
     notwithstanding the maintenance of procedures reasonably adapted to avoid such
 8
     error. See 15 U.S.C. § 1692k.
 9
             5.      Any purported improper activity by MCM, which is denied, was not
10
     material and did not negatively impact Plaintiff in any manner.
11
             6.      The foregoing affirmative defenses are raised by MCM without waiver of
12
     any other defenses that may develop during the course of discovery and MCM
13
     reserves its right to amend and/or supplement this Answer to assert such additional
14
     defenses as they become available.
15
             Wherefore, Defendant Midland Credit Management, Inc. respectfully requests
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     that this Court dismiss all of Plaintiff’s claims with prejudice, enter judgment in favor
17
     of MCM and against Plaintiff, and award MCM such other and further relief as the
18
     Court may deem just and appropriate.
19

20
     DATED: March 14, 2022                BLANK ROME LLP
21
                                          By: /s/ Cheryl S. Chang
22                                            Cheryl S. Chang
                                              Alice M. Hodsden
23
                                          Attorneys for Defendant
24                                        Midland Credit Management, Inc.
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 1                                CERTIFICATE OF SERVICE
 2

 3           The undersigned certifies that on March 14, 2022, the foregoing document
 4   was electronically filed with the Clerk of the Court for the United States District
 5   Court, Central District of California, using the Court’s Electronic Case Filing (ECF)
 6   system. I further certify that all participants in the case are registered CM/ECF users
 7   and that service will be accomplished by the CM/ECF system.
 8           I certify under penalty of perjury that the foregoing is true and correct.
 9   Executed on March 14, 2022.
10

11                                            By:       /s/AJ Cruickshank
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                             THE FIRST AMENDED COMPLAINT
